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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


SAMUEL JEWLER, et al.,

      Plaintiffs,

      v.                                    Civil Action No. 12-1843 (PLF)

DISTRICT OF COLUMBIA, et al.,

      Defendants.

                                JOINT STATEMENT

      Plaintiffs in this case are eleven individuals associated with the Occupy

Movement in the District of Columbia (the District) who were arrested in front of

the Bank of America located at 1090 Vermont Ave., N.W., between April 10 and 13,

2012, and charged with crowding, obstructing, or incommoding the use of a District

sidewalk in violation of D.C. Code § 22-1307(a). Defendants are the District, the

Attorney General, the Chief of Police, and 19 Metropolitan Police Department

(MPD) officers and officials involved in plaintiffs’ arrests (District Defendants or

District); Bank of America and its Vice President of Corporate Security, Joseph

Massey (Bank Defendants); and the John Akridge Company, which managed the

property where the arrests occurred, and three of its employees (Akridge

Defendants).

      The First Amended Complaint (Complaint) alleges the following causes of

action: (i) false arrest and false imprisonment; (ii) abuse of process; (iii) negligent

training and supervision; (iv) retaliatory arrest in violation of the First Amendment;

(v) arrest without probable cause in violation of the Fourth Amendment; (vi)
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intentional differential treatment in violation of the Equal Protection Clause of the

Fifth Amendment; and (vii) constitutional vagueness and overbreadth in violation of

the Due Process Clause of the Fifth Amendment and First Amendment,

respectively. Each claim is brought against the Bank Defendants and Akridge

Defendants on a civil conspiracy theory.1

       Between February 28, and March 8, 2013, the Bank Defendants, Akridge

Defendants, and District Defendants moved separately to dismiss the Complaint.

[Dkt. Nos. 48, 51, 54]. Plaintiffs, and the ACLU as amicus, opposed, [Dkt. Nos. 60,

61, 63; Dkt. Nos. 56, 77], and defendants filed replies, [Dkt. Nos. 66, 67, 68].

Plaintiffs then filed two motions: Plaintiffs’ Motion for an Extension of Time, Nunc

Pro Tunc, to Respond to the District Defendants’ Motion to Dismiss [Dkt. No. 69],

and Plaintiffs Jewler and Eister’s Cross-Motion for Partial Summary Judgment

[Dkt. No. 71]. The Motion for an Extension of Time sought leave to file the Cross-

Motion for Partial Summary Judgment, which responded for the first time to the

arguments in the District’s motion regarding the facial constitutionality of D.C.

Code § 22-1307(a).

       Accordingly, the following five2 motions are currently pending before this

Court (listed here in the order filed):



1Plaintiffs argued, through their opposition briefing, that the Bank Defendants and Akridge
Defendants may also be liable on a theory of aiding and abetting. Dkt. Nos. 60, 61.

2 The Court’s April 5, 2016 Minute Order listed ECF Docket Numbers 48, 51, 45, and 71 as the
motions currently pending decision. For purposes of this filing, the parties assume the Court
included Mr. Muckenfuss’ Motion for Leave to Appear Pro Hac Vice [Dkt. No. 45], which was
previously granted on May 22, 2013, and omitted the District’s Motion to Dismiss [Dkt. No. 54], in
error. Additionally, plaintiffs’ Motion for an Extension of Time, Nunc Pro Tunc [Dkt. No. 69], is

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   1. The Bank Defendants’ Motion to Dismiss [Dkt. No. 48];

   2. The Akridge Defendants’ Motion to Dismiss [Dkt. No. 51];

   3. The District’s Motion to Dismiss [Dkt. No. 54];

   4. Plaintiffs’ Motion for an Extension of Time, Nunc Pro Tunc, to Respond to the

       District Defendants’ Motion to Dismiss [Dkt. No. 69]; and

   5. Plaintiffs Jewler and Eister’s Cross-Motion for Partial Summary Judgment

       [Dkt. No. 71].

       By Minute Order dated April 5, 2016, the Court set these motions for oral

argument and directed the parties to confer and file a joint statement by May 26,

2016, identifying the major issues for argument and indicating how much time (out

of 40 minutes per side) the parties will allocate to each issue. The parties respond to

the Court’s order as follows.

       Issue 1:    Whether Plaintiffs Jewler and Eister’s Cross-Motion for Partial

Summary Judgment is properly before the Court or, conversely, whether the claims

addressed therein were waived due to plaintiffs’ failure to respond to the arguments

in the District’s Motion to Dismiss regarding the facial constitutionality of D.C.

Code § 22-1307(a). (Plaintiffs: 1.5 minutes; defendants: 2.5 minutes.)

       Issue 2: Whether plaintiffs alleged a civil conspiracy or aiding and abetting

claim against any of the individual defendants. (Plaintiffs: 3.5 minutes; defendants:

2.5 minutes.)




currently pending but was not included in the Court’s Minute Order. Defendants assume this too
was inadvertent error.

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       Issue 3: Whether the MPD officers and officials directly involved in plaintiffs’

arrests are entitled to qualified immunity on the constitutional claims3 alleged

against them. (Plaintiffs: 7 minutes; defendants: 10 minutes.)

       Issue 4: Whether plaintiffs have alleged a plausible basis for Monell liability

in support of their constitutional claims against the District. (Plaintiffs: 5 minutes;

defendants: 2.5 minutes.)

       Issue 5:     If plaintiffs have not waived their claims regarding the facial

constitutionality of D.C. Code § 22-1307(a), whether the law is vague or overbroad

such that it violates the Due Process Clause of the Fifth Amendment or First

Amendment, respectively. (Plaintiffs: 15 minutes; defendants: 7.5 minutes.)

       Issue 6: Whether plaintiffs otherwise alleged facts sufficient to state any

causes of action against the Bank Defendants. (Plaintiffs: 5 minutes; defendants: 5

minutes.)

       Issue 7: Whether plaintiffs otherwise alleged facts sufficient to state any

causes of action against the Akridge Defendants. (Plaintiffs: 3 minutes; defendants:

5 minutes.)

       In addition to these time allocations, defendants respectfully reserve five

minutes for rebuttal argument and closing remarks.




3 The constitutional claims alleged against the individual MPD defendants are retaliatory arrest in
violation of the First Amendment, arrest without probable cause in violation of the Fourth
Amendment, and intentional differential treatment in violation of the Equal Protection Clause of the
Fifth Amendment.

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DATE: May 25, 2016.                   Respectfully Submitted,

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